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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


GRAYSON-BEY,

               Plaintiff,                                   No. 19-13588

v.                                                          Honorable Nancy G. Edmunds

SOUTHFIELD POLICE
DEPARTMENT, et al.,

           Defendants.
________________________________________/

                       ORDER DENYING REQUEST TO PROCEED
                          IN FORMA PAUPERIS ON APPEAL

       On December 7, 2020, the Court entered an opinion and order accepting and

adopting the Magistrate Judge’s report and recommendation that Plaintiff’s complaint

be dismissed in its entirety. (ECF No. 26.) A judgment closing this case was entered

on that same day. (ECF No. 27.) Plaintiff has filed a notice of appeal with the Sixth

Circuit Court of Appeals. (ECF No. 28.) The matter is before the Court on Plaintiff’s

application for leave to proceed in forma pauperis on appeal. (ECF No. 30.)

       Pursuant to 28 U.S.C. § 1915(a)(3), “[a]n appeal may not be taken in forma

pauperis if the trial court certifies in writing that it is not taken in good faith.” The

Supreme Court has interpreted “good faith” to mean “not frivolous.” Coppedge v.

United States, 369 U.S. 438, 445-46 (1962). Whether or not an appeal is taken in

good faith must be judged by an objective standard. Id.

       As set forth in the Court’s opinion and order, Plaintiff has failed to present an

actionable claim. Thus, the Court finds that any appeal from that decision would be
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frivolous. As an appeal cannot be taken in good faith, under § 1915(a)(3), it may not

be taken in forma pauperis. Accordingly, Plaintiff’s application to proceed in forma

pauperis on appeal is DENIED.

      SO ORDERED.

                                  s/Nancy G. Edmunds
                                  Nancy G. Edmunds
                                  United States District Judge

Dated: January 13, 2021

I hereby certify that a copy of the foregoing document was served upon counsel of
record on January 13, 2021, by electronic and/or ordinary mail.

                                  s/Lisa Bartlett
                                  Case Manager
